
82 N.Y.2d 885 (1993)
Sondra Bauernfeind, Individually and as Administratrix of The Estate of John Bauernfeind, Deceased, Appellant,
v.
Albany Medical Center Hospital et al., Respondents.
Court of Appeals of the State of New York.
Submitted November 8, 1993.
Decided December 21, 1993.
Judge LEVINE taking no part.
Motion, insofar as it seeks leave to appeal from that part of the Appellate Division order that affirmed Supreme Court's denial of plaintiff's motion to vacate, dismissed upon the ground that that portion of the order does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
